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                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                   Case No.
                Plaintiff,
                                                   COMPLAINT
        v.

 MOUNTAIN CARE PHARMACY IDAHO,
 LLC, and JARED STONG,

                Defendants.



       Plaintiff United States of America brings this Complaint against Defendants Mountain

Care Pharmacy Idaho, LLC (“Mountain Care”) and Jared Stong (“Stong”) and alleges:

                                      INTRODUCTION

       1.      This is an action to recover civil monetary penalties under the Comprehensive

Drug Abuse Prevention and Controlled Substances Act of 1970 (also known as the “Controlled

Substances Act” or “CSA”), as amended, 21 U.S.C. §§ 801-904, and its implementing

regulations.



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                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 28 U.S.C. §§ 1345 and 1355.

       3.      Venue is proper under 28 U.S.C. §§ 1391(b) and 1395(a) because a substantial

part of the events or omissions giving rise to the claims in this case occurred in this district.

                                             PARTIES

       4.      The United States is the Plaintiff in this action. The Drug Enforcement

Administration (“DEA”) is an agency within the United States Department of Justice responsible

for enforcing the CSA.

       5.      Defendant Mountain Care is an Idaho limited liability company. At all times

relevant to this action, Mountain Care was a pharmacy that dispensed drugs to hospice patients.

Mountain Care’s principal place of business was at 286 N. Maple Grove Drive in Boise, Idaho.

Mountain Care was registered with the DEA pursuant to 21 U.S.C. §§ 822 and 823. Mountain

Care was assigned DEA Registration Number FM1553672 with Schedules II-V Controlled

Substances privileges.

       6.      Defendant Stong owned and operated Mountain Care and was responsible for

Mountain Care’s compliance with the CSA. Stong, a licensed Idaho pharmacist, filled

prescriptions for hospice patients in Idaho, including some of the prescriptions underlying the

United States’ claims in this action.

 THE COMPREHENSIVE DRUG ABUSE PREVENTION AND CONTROL ACT (CSA)
              AND ITS IMPLEMENTING REGULATIONS

       7.      In 1970, Congress acknowledged that, while many controlled substances have

useful and legitimate medical purposes, their illegal distribution has a substantial and detrimental



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effect on the health and welfare of the American public. The illegal distribution of controlled

substances – whether from diversion, theft, or loss – facilitates prescription drug abuse.

Accordingly, Congress enacted the CSA to place federal oversight and regulation over the

controlled substance distribution chain.

       8.      The CSA regulates entities that dispense controlled substances by establishing

controls over all stages of the chain of distribution of controlled substances in the United States,

including all practitioners and pharmacies, through a closed and monitored system which makes

it unlawful to manufacture, distribute, dispense, or possess any controlled substance except as

authorized by the CSA. 21 U.S.C. § 801 et seq. The Attorney General is authorized to

promulgate regulations for “the registration and control of the manufacture, distribution, and

dispensing of controlled substances.” 21 U.S.C. § 821.

       9.      Under the CSA, “controlled substances are strictly regulated to ensure a sufficient

supply for legitimate medical . . . purposes and to deter diversion of controlled substances to

illegal purposes. The substances are regulated because of their potential for abuse and likelihood

to cause dependence when abused and because of their serious and potentially unsafe nature if

not used under the proper circumstances.” 75 Fed. Reg. 61,613 – 61,617 (Oct. 6, 2010) (DEA

Policy Statement, “Role of Authorized Agents in Communicating Controlled Substance

Prescriptions to Pharmacies”).

       10.     Entities that dispense controlled substances are required to have a valid DEA

registration number and are referred to by DEA regulations as “registrants.” 21 C.F.R. §§

1301.11(a) and 1300.01. Registrants and their owners, such as Mountain Care and Stong, are

subject to the CSA, including, Title 21, United States Code, Sections 842(a)(1) and 842(a)(5).




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          11.      The CSA established a five-part classification schedule for prescription

medications based upon medicinal value and potential for abuse and harm. See 21 U.S.C. § 812.

The control is the strictest on substances in Schedule I. Schedule I drugs have no currently-

accepted medical use in the United States and have a high potential for abuse. Id. The control

lessens as the danger of abuse and dependency decreases. Thus, Schedule II drugs are those with

a currently-accepted medical use, but also with a high potential for abuse and severe

psychological or physical dependence. Schedule III-V drugs have currently-accepted medical

uses and a decreasing potential for abuse and dependence as the schedule number increases. Id.

          12.      The CSA prohibits any manufacturer, distributor, or dispenser, including

pharmacies and pharmacists, from distributing or dispensing a controlled substance without a

valid prescription. 21 U.S.C. § 829(a) and (b).

          13.      Under the CSA and its implementing regulations, all prescriptions for controlled

substances shall:

                a. be dated as of, and signed on, the day when issued;

                b. bear the full name and address of the patient;

                c. bear the drug name, strength, dosage form, quantity prescribed and directions for

                   use; and,

                d. bear the name, address and registration number of the practitioner. 21 C.F.R. §

                   1306.05.

          14.      To ensure Schedule II controlled substances are only prescribed by licensed

practitioners for legitimate medical purposes, the CSA requires that the prescription be in writing

except that a practitioner may give an oral prescription in an emergency situation. 21 U.S.C. §

829(a).

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        15.      Under the CSA, no prescription for a Schedule II controlled substance may be

refilled. 21 U.S.C. § 829(a). A new prescription is required.

        16.      For Schedule II controlled substances, the dispensing pharmacy must have an

original written prescription signed by the practitioner or, in an emergency situation, an oral

prescription from the practitioner prior to dispensing the drug. 21 C.F.R. § 1306.11(a) and (d).

For purposes of hospice patients, a valid prescription that is transmitted via facsimile to the

pharmacy serves as the original written prescription. 21 C.F.R. § 1306.11(g).

        17.      In an emergency situation, a pharmacist may dispense a controlled substance

listed in Schedule II upon receiving an oral authorization of a prescribing practitioner, provided

that:

              a. The oral prescription must be from the prescribing individual practitioner;

              b. The quantity prescribed and dispensed is limited to the amount adequate to treat

                 the patient during only the emergency period;

              c. The pharmacist shall immediately reduce the prescription to a writing that meets

                 the requirements of 21 C.F.R. § 1306.05, except for the signature of the

                 prescribing individual practitioner; and

              d. The pharmacy must receive a written prescription from the prescribing individual

                 practitioner within seven (7) days of the oral prescription. 21 C.F.R. 1306.11(d).

        18.      An emergency situation means those situations in which the practitioner

determines:

              a. That immediate administration of the controlled substance is necessary for proper

                 treatment of the intended ultimate user;




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             b. That no appropriate alternative treatment is available, including administration of

                a drug which is not a controlled substance under Schedule II of the Act; and

             c. That it is not reasonably possible for the prescribing practitioner to provide a

                written prescription to be presented to the person dispensing the substance, prior

                to the dispensing.

21 C.F.R. § 290.10.

       19.      If a pharmacy or pharmacist dispenses a controlled substance without a valid

prescription, it is liable for a civil penalty of up to $25,000 for each violation. 21 U.S.C. §§

842(a)(1) and 842(c)(1)(A).

       20.      Under the CSA, record-keeping is a critical aspect of the system of controls.

Accordingly, every DEA registrant is required to maintain, on a current basis, a complete and

accurate record of each controlled substance that it receives, sells, delivers, and of which it

disposes. 21 U.S.C. § 827(a)(3).     It is unlawful “to refuse or negligently fail to make, keep, or

furnish any record, report, notification, declaration, or order form, invoice, or information

required” by the CSA or regulation. 21 U.S.C. § 842(a)(5). Each violation of the CSA’s record-

keeping requirements can result in a civil penalty of up to $10,000. See 21 U.S.C. §

842(c)(1)(B).

                                          BACKGROUND

       21.      The DEA learned of potential violations of the CSA by Mountain Care from the

Idaho Board of Pharmacy, including that Mountain Care: (1) dispensed controlled substances

before receiving signed prescriptions; (2) accepted prescriptions without the required prescriber

information or the correct prescriber listed; and (3) accepted prescriptions with missing

information, such as the strength, form, and total quantity dispensed.

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        22.       On April 2, 2014, the DEA conducted an administrative inspection of Mountain

Care. The DEA discovered that Mountain Care’s records were disorganized, incomplete, and

inaccurate. Mountain Care kept prescriptions and daily logs in boxes roughly organized by

month, records were missing, and some records were not on site (a violation of federal law, in

and of itself).

        23.       Given the state of Mountain Care’s records, the DEA had to devote significant

time and resources to sorting, scanning, and organizing Mountain Care’s records before it could

begin its review. Ultimately, the DEA reviewed four months of Mountain Care’s records (i.e.,

September 1, 2012 through December 31, 2012). Many of the prescriptions filled by Mountain

Care during this period were for Schedule II drugs, such as oxycodone and morphine, which can

cause significant harm if used improperly and have a high potential for abuse.

        24.       The DEA’s inspection uncovered that Defendants routinely dispensed Schedule II

drugs without a valid prescription. The DEA identified over 900 prescriptions filled by

Mountain Care between September 1, 2012 and December 31, 2012—including prescriptions

personally filled by Stong—that did not include information required by the CSA. Of the 1217

Schedule II prescriptions reviewed by the DEA, 964 were invalid.

        25.       The DEA also uncovered that on multiple occasions Defendants dispensed

Schedule II drugs without any prescription at all and failed to obtain and maintain required

records.

                                  FIRST CLAIM FOR RELIEF
                  (Dispensing Controlled Substances Without a Valid Prescription)

        26.       The United States realleges and incorporates by reference each allegation in the

preceding paragraphs as if fully set forth herein.



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       27.        On 778 occasions, Defendants violated the CSA by dispensing Schedule II

controlled substances without a valid prescription containing all required elements in violation of

21 U.S.C. §§ 829(a) and 842(a)(1):

             a.    101 prescriptions are missing the patient’s full address, in violation of 21 CFR
                  § 1306.05(a);

             b. 25 prescriptions do not contain the practitioner’s name, in violation of 21 CFR
                § 1306.05(a);

             c. 13 prescriptions do not state the practitioner’s address, in violation of 21 CFR
                § 1306.05(a);

             d. 261 prescriptions do not have the practitioner’s DEA Number, in violation of 21
                CFR § 1306.05(a);

             e. 5 prescriptions are not signed by the practitioner, in violation of 21 CFR
                § 1306.05(a);

             f. 9 prescriptions list an incorrect practitioner DEA Number, in violation of 21 CFR
                § 1306.05(a);

             g. 336 prescriptions are written on pre-populated prescription forms created by
                Mountain Care, in violation of 21 CFR §§ 1306.04(a), 1306.05(a), 1306.05(f), and
                1306.11(f); and

             h. 27 faxed prescriptions do not specify that the prescription is for a “hospice
                patient,” in violation of 21 CFR § 1306.11(g).

       28.        While many of the above prescriptions were missing more than one required

element, each prescription is included only once in the above totals.

       29.        Each of the above dispensations is a separate violation of 21 U.S.C. § 842(a)(1),

and Defendants are subject to a civil penalty of up to $25,000 for each violation. 21 U.S.C. §

842(c)(1)(A).




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                                 SECOND CLAIM FOR RELIEF
                               (Failing to Make and Keep Records)

       30.      The United States realleges and incorporates by reference each allegation in the

preceding paragraphs as if fully set forth herein.

       31.      On 563 occasions, Defendants violated the CSA by failing to make, keep, or

furnish required records in violation of 21 U.S.C. § 842(a)(5):

             a. 16 prescriptions were filled on an emergency basis after receiving an oral
                authorization from a practitioner, however, no written prescription was
                subsequently obtained by Mountain Care within the time period permitted, in
                violation of 21 CFR § 1306.11(d);

             b. 85 prescriptions are listed as having been filled on a daily log, however, no
                written prescription could be found in Mountain Care Pharmacy’s records, in
                violation of 21 CFR §§ 1306.11(d), 1304.04(a), and 1304.21(a); and

             c. 462 prescriptions are recorded as partially filled, however, the prescriptions do
                not note that the patient was “terminally ill,” in violation of 21 CFR § 1306.13(b).

       32.      Each of the above failures to make, keep, or furnish a required record is a separate

violation of 21 U.S.C. § 842(a)(5), and Defendants are subject to a civil penalty of up to $10,000

for each violation. 21 U.S.C. § 842(c)(1)(B).

                               THIRD CLAIM FOR RELIEF
                (Failing to Make and Keep Records at the Registered Location)

       33.      The United States realleges and incorporates by reference each allegation in the

preceding paragraphs as if fully set forth herein.

       34.      Defendants failed to comply with the requirements of the CSA when they failed

to maintain the records of each registered location at that location. 21 C.F.R. § 1304.04.

       35.      On at least one occasion, Mountain Care’s records were not stored at the

registration location in Idaho. Mountain Care’s records were unlawfully stored in Utah.




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       36.     Defendants’ failure to maintain records at the registered location violates 21

U.S.C. §§ 842(a)(5), 842(a)(10) and 21 C.F.R. § 1304.04, and subjects them to civil monetary

penalty of not more than $10,000 for that violation. 21 U.S.C. § 842(c)(1)(B).

                                FOURTH CLAIM FOR RELIEF
                         (Failing to Make and Keep Accurate Records)

       37.     The United States realleges and incorporates by reference each allegation in the

preceding paragraphs as if fully set forth herein.

       38.     On thirteen occasions, Defendants violated the CSA by recording incorrect DEA

numbers in Mountain Care’s dispensing log. 21 C.F.R. § 1304.21.

       39.     Defendants’ failure to maintain accurate records violates 21 U.S.C. §§ 842(a)(5),

and 21 C.F.R. § 1304.21, and subjects them to civil monetary penalty of not more than $10,000

for each violation. 21 U.S.C. § 842(c)(1)(B).

                                     PRAYER FOR RELIEF

       The United States seeks entry of judgment for the United States on Claims One through

Four, for civil monetary penalties for violations of the Controlled Substances Act, and for any

other relief the Court deems just, including the United States’ costs.

Respectfully submitted this 8th day of June 2017.


                                                     RAFAEL M. GONZALEZ, JR.
                                                     ACTING UNITED STATES ATTORNEY
                                                     By:


                                                     /s/ James P. Schaefer
                                                      JAMES P. SCHAEFER
                                                      Assistant United States Attorney




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